Case: 6:17-cv-00326-CHB-HAI Doc #: 41 Filed: 02/19/19 Page: 1 of 1 - Page ID#: 143




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

  CARRIE A. LUNSFORD                                )
                                                    )
          Plaintiff,                                )   Civil Action No. 6:17-CV-326-CHB
                                                    )
  v.                                                )
                                                    ) ORDER DISMISSING CLAIMS WITH
  EXPERIAN INFORMATION                              )  PREJUDICE AS TO DEFENDANT
  SOLUTIONS, INC., et al.,                          )      EQUIFAX INFORMATION
                                                    )           SERVICES, LLC.
          Defendants.
                                       ***    ***       ***   ***
       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Carrie A. Lunsford, has filed a notice

of voluntary dismissal [R. 40]. Accordingly, it is HEREBY ORDERED that Equifax

Information Services, LLC is DISMISSED WITH PREJUDICE. Except as otherwise agreed,

each party shall bear their own costs and fees.

       This the 19th day of February, 2019.




                                                  -1-
